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                                          July 20, 2022


Via ECF

The Honorable John D. Bates
U.S. District Court for the District of Columbia
333 Constitution Ave. N.W.
Washington, D.C. 20001

       Re:     Cengiz et al. v. Bin Salman et al., Case No. 1:20-cv-03009-JDB

Dear Judge Bates,

        Pursuant to the Court’s July 18, 2022 Minute Order, the parties file this joint statement
expressing their view that the motions hearing currently scheduled for August 31, 2022 should
be postponed to a date after the October 3, 2022 deadline for the United States to file a statement
of interest. The parties propose the week of October 31, 2022 for the rescheduled hearing.


                                                     Respectfully submitted,

                                                     /s/ Michael K. Kellogg

                                                     Michael K. Kellogg
                                                     Counsel for Mohammed bin Salman bin
                                                     Abdulaziz Al Saud


                                                     /s/ Barry J. Pollack

                                                     Barry J. Pollack
                                                     Counsel for Saud Al Qahtani & Ahmed Al
                                                     Assiri
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                                         /s/ Adam G. Unikowsky

                                         Adam G. Unikowsky
                                         Counsel for Hatice Cengiz & Democracy for
                                         the Arab World Now, Inc.

cc:   All Counsel of Record (via ECF)
